 Case 1:17-cv-01668-ARR-CLP Document 35 Filed 05/04/18 Page 1 of 2 PageID #: 175



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
x------------              -----------------x
MIGUEL LAPE[ individually and on behalf of          Civil Action No. l7 CV 1668 (ARRXCLP)
sirnilarly situated.
                        Plaintiffs,

       -against-                                    DECLARATION OF
                                                    PATRICK GAYLE


ANGELITO AUTO REPAIR, rNC. {D/BIA
ANGELITO AUTO REPAIR), ANGELITO
GUZMAN
                              Defendants.




PATRICK GAYLE makes the fcllowing declaration pursuant to 28 U.S.C. $1746:

l.       I have worked at Angelito Repair Shop (the "Shop") and with Angelito Guzman for the
last five years. as a mechanic.

2.     I submit this Declaration in support of Mr. Guzman's attorney's Motion pursuant to Rule
59(c), F.R.Civ.P. to set aside the Default entered by the Clerk of Court on June 13, 2017 because
of failure to timely file an Answer or respond to the Summons and Complaint.

3.       I have come to understand from Mr. Guzrnan's attorney, Ms. Roya Moghadassi-Weiss,
that Miguel Lopez has filed a law suit against Angelito Repair Shop, Inc, and Angelito Guzman'
In the five year period that I have worked at the Shop, I have never seen any evidence that the
Shop is in fact a corporation. I have known it to be a very small auto shop owned and operated
by Angelito Guzman.

4.      I also understand from Ms. Moghadassi-Weiss that Miguel Lopez claims that he was an
employee at the Shop from approximately May 2015 until January 20m, 2017; that he typically
worked 60 hours or more per week, from 8:00 a.m. until 6:00-7:00 p.m', Monday through
Saturday. The period Mr. Lopez claims he was employed and regularly worked at the shop
coincides in part with the period of time I have worked at the Shop. I have not u'itnessed Miguel
Lopez workings 60 or more hours per week and from 8 a.m" through 6-7 p.m., Monday through
Saturday.

5.      I also understand that there is a claim that certain legal papers or Summons and
Complaint were served on a person identified as a manager with the hrst name of llector, with
last name unknown or nith last name of "Dee,'o at the Shop, on April 3,2017. During the five
 Case 1:17-cv-01668-ARR-CLP Document 35 Filed 05/04/18 Page 2 of 2 PageID #: 176



years that I have worked at the Shop, I have not known any manager lvith the name of Hector or
anyone with that name working in the Shop. Based on my five year experience, the only
"manager" at the Shop is Angelito Guzman.

6.      I worked at the Shop in the month of April, 2011. While I do not remember the events on
the specific day of alleged service of papers, I believe such an event would have been an unusual
event, enough to stand out in my mind and for me to remember it, if w'itnessed. I did not see
anyone serving papers.

'1.    I had   a   friendly relationship with Mr. Lopez as did others in the Shop.

9.      Mr. Lopez dropped by the Shop whenever he liked. At times he brought cars in front of
the Shop to service and to make some money for himself but he was never at the Shop. rvorking
fbr Mr. Guz.man. every day. six days per week.

i declare under penalty of pedury     that the above statements are true and correct.



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Executed on: April 26, 2018                                      \--, / t. ..-,'             ('('
                                                                Patrick Gayle
